             Case 3:15-cv-05346-BJR Document 344 Filed 01/19/18 Page 1 of 3




1                                                   Honorable Barbara J. Rothstein

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                           UNITED STATES DISTRICT COURT
8                         WESTERN DISRICT OF WASHINGTON
                                    AT SEATTLE
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10   FREDERICK and ANNALESA THOMAS;
     and JO-HANNA READ, as Guardian ad
     Litem of E.T., a minor,                          No. 3:15-cv-05346-BJR
11
                                 Plaintiffs,     NOTICE OF ASSOCIATION FOR
12
                                                    PURPOSES OF APPEAL
13   v.

14   JASON CANNON; BRIAN MARKERT;
     RYAN MICENKO; MICHAEL WILEY;
15   MICHAEL ZARO; CITY OF FIFE; CITY
     OF LAKEWOOD; and PIERCE COUNTY
16   METRO SWAT TEAM

17                               Defendants.

18
     TO:   Plaintiffs Frederick Thomas, Annalesa Thomas, and Jo-Hanna Read, as
19         Guardian ad Litem of E.T., a minor, and their attorneys Timothy K. Ford,
           David J. Whedbee, and Tiffany M. Cartwright, MacDonald Hoague & Bayless,
20         and John R. Rizzardi, Cairncross & Hemplemann, P.S.;
21   TO:   Plaintiffs Frederick Thomas and Annalesa Thomas as Co-Administrators of
           the Estate Leonard Thomas, and its statutory beneficiaries, and their
22         attorneys John R. Connelly, Jr. and Meaghan M. Driscoll, Connelly Law
           Offices, PLLC; and
23

24   TO:   Clerk of the above entitled court.

25

                                                               SMITH GOODFRIEND, P.S.
                                                                  1619 8TH AVENUE NORTH
     NOTICE OF ASSOCIATION - 1                                  SEATTLE, WASHINGTON 98109
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             Case 3:15-cv-05346-BJR Document 344 Filed 01/19/18 Page 2 of 3




1          YOU AND EACH OF YOU WILL PLEASE TAKE NOTICE that Howard M.

2    Goodfriend, Catherine W. Smith and Ian C. Cairns, Smith Goodfriend, P.S., are

3    hereby associated as counsel with Brian C. Augenthaler, Richard B. Jolley, and

4    Jeremy W. Culumber, Keating, Bucklin & McCormack, Inc., P.S., as attorneys for the

5    defendants, Jason Cannon, Brian Markert, Michael Wiley, Michael Zaro, Nathan

6    Vance, Ryan Micenko, the City of Fife, and the City of Lakewood, in this cause for

7    purposes of appeal.

8          DATED this 19th day of January, 2018.

9     KEATING, BUCKLIN &                        SMITH GOODFRIEND, P.S.
      MCCORMACK, INC., P.S.
10

11    By: /s/Brian C. Augenthaler               By: /s/Howard M. Goodfriend
      Brian C. Augenthaler, WSBA # 44022        Howard M. Goodfriend, WSBA # 14355
12    By: /s/Richard B. Jolley                  By: /s/Catherine W. Smith
      Richard B. Jolley, WSBA # 23473           Catherine W. Smith, WSBA # 9542
13
      By: /s/Jeremy W. Culumber                 By: /s/Ian C. Cairns
14    Jeremy W. Culumber, WSBA # 35423          Ian C. Cairns, WSBA # 43210

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                                 Attorneys for Defendants
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     Case 3:15-cv-05346-BJR Document 344 Filed 01/19/18 Page 3 of 3




                           CERTIFICATE OF SERVICE



       I hereby certify that on January 19, 2018, I electronically filed the foregoing
Notice of Association with the Clerk of the Court for the United States District
Court, Western District of Washington using the CM/ECF system, which will send
notification of such filing to all counsel of record.

       DATED at Seattle, Washington this 19th day of January, 2018.


                                           s/ Peyush Soni
